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               EXHIBIT 25
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2,454 Federal district court cases for Alan D Albright of
                                                                                                                                           Page 1 of 2
W.D.Tex.



District Judge Alan D Albright of the U.S. District Court for the Western District of Texas W.D.Tex.
Cases

 Showing 2,454 federal district court cases before District Judge Alan D Albright; pending between 2009-01-01 and 2021-06-29.; sorted by
 most recent docket activity.


Timing


                                                                          % of cases that
                                                                      reached event in

                                                                     less than    more than

                                                                            189 days

                                                            0 days                                   1.5 years                       3 years


                                                              0                 189                    547
      Dismiss (Contested)
      266 Cases reached Dismiss (Contested)                                50%     50%
      Median: 189 days

                                                                      102                291



                                                                       120                           490                 769
      Summary Judgment
      82 Cases reached Summary Judgment                                      7%    93%
      Median: 490 days

                                                                                               397               632



                                                                                            358                  623           787
      Trial
      20 Cases reached Trial                                                 0%    100%
      Median: 623 days
                                                                                                           550           720



                                                              0                 152                                665
      Termination
      1,401 Terminated Cases                                               57%     43%
      Median: 152 days

                                                                     72                  310

                                                            0 days                                   1.5 years                       3 years




 https://law.lexmachina.com/court/txwd/judge/5198506/cases?tab=timing&pending-from=2009-01-01&filters=true&view=analytics&cols=7515
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2,454 Federal district court cases for Alan D Albright of
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    Event                                                   Cases Reaching Event           Median Days from Case Filing to Event

    Temporary Restraining Order (Grant)                                       4                                             n/a

    (Remaining Federal cases are not included)

    Preliminary Injunction (Grant)                                            5                                             n/a

    (Remaining Federal cases are not included)

    Preliminary Injunction (Deny)                                             2                                             n/a

    (Remaining Federal cases are not included)

    Permanent Injunction (Grant)                                             15                                             365

    (Remaining Federal cases are not included)

    FLSA Conditional Certification                                            1                                             n/a

    (Remaining Federal cases are not included)

    Claim Construction Hearing                                              190                                             294

    (Remaining Federal cases are not included)




 https://law.lexmachina.com/court/txwd/judge/5198506/cases?tab=timing&pending-from=2009-01-01&filters=true&view=analytics&cols=7515
